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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


   JACKSONVILLE BRANCH
   OF THE NAACP, et al.,

                Plaintiffs,
                                             Case No. 3:22-cv-493-MMH-LLL
   vs.

   CITY OF JACKSONVILLE, et al.,

                Defendants.

   _____________________________________/


                                     ORDER

           THIS CAUSE is before the Court on the Joint Motion for a Preliminary

   Pretrial Conference (Doc. 24; Motion), filed on July 1, 2022. In the Motion, the

   parties request a preliminary pretrial conference with the Court. See Motion at

   1. Upon review, the Court finds good cause for the requested relief. Accordingly,

   it is

           ORDERED:

           1. The Joint Motion for a Preliminary Pretrial Conference (Doc. 24) is

             GRANTED.
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         2. This matter is set for a Preliminary Pretrial Conference on

            Friday, July 8, 2022, at 10:30 a.m. before the Honorable Marcia

            Morales Howard, United States District Judge.

         3. The hearing will be held by video teleconferencing using Zoom. The

            Courtroom Deputy Clerk will separately send participants an Outlook

            invitation with the link, meeting ID, and password. Information on

            how others can observe the proceeding can be found on the Court’s

            website, https://www.flmd.uscourts.gov/coronavirus-and-email-filing-

            information. Participants should dress in appropriate court attire and

            appear in front of an appropriate professional background.

         4. All persons are hereby reminded that under Local Rule 4.11(a)(2),

            United States District Court, Middle District of Florida, “the taking of

            photographs, the operation of recording or transmission devices, and

            the broadcasting or televising of proceedings in any courtroom or

            hearing room of this Court, or the environs thereof, either while the

            Court is in session or at recesses between sessions when Court officials,

            attorneys, jurors, witnesses or other persons connected with judicial

            proceedings of any kind are present, are prohibited.” Violation of these

            prohibitions may result in sanctions, including removal of court issued

            media credentials, restricted entry to future hearings, denial of entry



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             to future hearings, or any other sanctions deemed necessary by the

             Court.

           DONE AND ORDERED in Jacksonville, Florida this 1st day of July,
   2022.




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   Copies to:

   Counsel of Record
   Pro Se Parties




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